Case 2:21-cv-07979-CJC-RAO Document 19 Filed 11/15/21 Page 1iof1 Page ID#:14
JS-6

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Kun Nam Lee, CASE NUMBER
CV 21-7979-CJC (RAO)

Plaintiff(s)/Petitioner(s),

 

Proland Management,
ORDER OF DISMISSAL OR REMAND

Defendant(s)/Respondent(s).

 

The Court previously received from Plaintiff(s)/Petitioner(s) [_] Defendant(s)/Respondent(s):
[_] an IFP Request with no accompanying Complaint/Petition/Notice of Removal.

a Complaint/Petition/Notice of Removal without an accompanying IFP Request
or payinent of the filing fees. Panying 4

[_] a Complaint/Petition/Notice of Removal with a partial filing fee payment for an amount
less than the required $400.

The Court sent a warning letter to [x] Plaintiff(s)/Petitioner(s) [_] Defendant(s)/Respondent(s) advising that
failure to correct this deficiency within THIRTY DAYS from the date of the warning letter would result in

dismissal or remand of this case. More than THIRTY DAYS have now passed, and the deficiency has not been
corrected.

Accordingly, this case is HEREBY ORDERED
DISMISSED. No further filings shall be accepted under this case number.

_] REMANDED to the . No further findings shall be
accepted under this case number.

IT IS SO ORDERED.

Dated: November 15, 2021 ow... . —_SY
United States’ District Judge /

 

 

IFP-10 (05/18) ORDER OF DISMISSAL OR REMAND Page 1 of 1
